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                          Oral Argument Not Yet Scheduled


                                    No. 25-5067

             IN THE UNITED STATES COURT OF APPEALS
             FOR THE DISTRICT OF COLUMBIA CIRCUIT

                                    J.G.G., et al.,
                                 Plaintiffs-Appellees,

                                          v.

       DONALD J. TRUMP, in his official capacity as President of the
                      United States, et al.,
                     Defendants-Appellants.

               ON APPEAL FROM THE UNITED STATES
          DISTRICT COURT FOR THE DISTRICT OF COLUMBIA
                         No. 1:25-cv-00766
                     The Hon. James E. Boasberg


        EMERGENCY MOTION FOR A STAY PENDING APPEAL


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                                INTRODUCTION

        On March 15, 2025, without hearing from the United States and relying on

speculation about future Presidential action, a District Court lacking jurisdiction

purported to halt the potential removal of individuals associated with a designated

foreign terrorist organization (“FTO”) and is setting the stage to potentially inject

itself into all such removals nationwide at a hearing scheduled for 5:00 p.m. today.

A stay pending appeal is manifestly warranted, as is an immediate administrative

stay.

        The district court immediately enjoined removal of five anonymous plaintiffs

who believe they will be wrongly identified as members of the FTO Tren de Argua

(“TdA”) and imminently removed.           This Court should halt this massive,

unauthorized imposition on the Executive’s authority to remove dangerous aliens

who pose threats to the American people. That order is immediately appealable

because it commands the Executive Branch not to immediately remove plaintiffs, no

matter whether the Executive Branch has identified compelling core national

security and foreign policy objectives requiring removal.

        Further underscoring the impropriety of this auto-TRO, Plaintiffs would not

be irreparably injured by potential removal, as the Supreme Court has expressly held.

Nken v. Holder, 556 U.S. 418, 435 (2009). The district court acted without any

jurisdiction—these claims sound in habeas. See, e.g., Ludecke v. Watkins 335 U.S.



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160 (1948) (considering challenge to action under Aliens Enemies Act as habeas

claim). Yet the plaintiffs are being held in Texas, not in the District of Columbia.

See Rumsfeld v. Padilla, 542 U.S. 425, 435 (2004). The alleged Presidential actions

at issue here, if taken, would not be subject to review and would be lawful. If this

TRO were allowed to stand, district courts would have license to enjoin virtually any

urgent national-security action just upon receipt of a complaint. District courts might

next TRO drone strikes, sensitive intelligence operations, or terrorist captures or

extraditions. This Court should halt that path in its tracks.

                                  BACKGROUND

      Plaintiffs allege that the President will soon invoke the Alien Enemies Act

(“AEA”), 50 U.S.C. § 21 et seq., to facilitate the removal of members of the

notorious gang and designated FTO, TdA. Complaint, Dkt. 1, ¶ 45 (“Compl.”).

They allege that the President, in his Proclamation, will determine that TdA is linked

to Venezuela and is itself a foreign nation or government that is “perpetrating,

attempting, and threatening predatory incursions, hostile actions, and irregular

warfare.” Id. at ¶ 46. They further allege that the Proclamation will “state that all

Venezuelan citizens ages fourteen or older alleged to be members of Tren de

Aragua—and who are not U.S. citizens or lawful permanent residents—are alien

enemies.” Id. at ¶ 47.




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      On March 15, 2025, five individual plaintiffs who are nationals of Venezuela

and claim to fear removal under the alleged Proclamation filed a class action

complaint and petition for habeas with the U.S. District Court for the District of

Columbia along with a motion for TRO. See generally Compl.; Dkt. 3 (motion for

TRO). Hours later, without hearing from the Government, the district court granted

Plaintiffs’ TRO motion “to maintain the status quo until a hearing can be set,”

ordered that “Defendants shall not remove any of the individual Plaintiffs from the

United States for 14 days absent further Order of the Court,” and set a hearing for

March 17, 2025, at 4:00 pm. First Minute Order dated Mar. 15, 2025. A short time

later the court set a hearing on Plaintiffs’ motion for class certification for March 15,

2025, at 5:00 p.m. Second Minute Order dated Mar. 15, 2025. And just after that,

the Government filed a notice of appeal of the court’s order granting Plaintiffs’ TRO

motion.

                                    ARGUMENT

I.    The TRO Is an Appealable Order.

      This Court has jurisdiction to review the district court’s order. Although TROs

are ordinarily not appealable, they are appealable where they are “more akin to

preliminary injunctive relief.” Garza v. Hargan, 2017 WL 9854552, at *1 n.1 (D.C.

Cir. Oct. 20, 2017), vacated in part on reh’g en banc, 874 F.3d 735 (D.C. Cir. 2017),

vacated sub nom. Azar v. Garza, 584 U.S. 726 (2018); see Belbacha v. Bush, 520



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F.3d 452, 455 (D.C. Cir. 2008) (treating denial of temporary restraining order as

“‘tantamount to denial of a preliminary injunction’”).1 That is true here for two

reasons.

      First, to the extent the district court order purports to halt a potential

invocation of the AEA, it works an extraordinary harm to the President’s authority

to declare an invasion of the United States and his inherent Article II authority to

repel such an invasion and conduct foreign affairs. Federal courts have consistently

held that the determination by the Executive of whether there is an “invasion” is a

nonjusticiable political question, see, e.g., State of California v. United States, 104

F.3d 1086, 1091 (9th Cir. 1997) (collecting cases), and as the Supreme Court has

long recognized, federal courts have no authority to issue an injunction purporting

to supervise the President’s performance of his duties. Mississippi v. Johnson, 71

U.S. (4 Wall.) 475, 501 (1867) (“[T]his court has no jurisdiction of a bill to enjoin

the President in the performance of his official duties.”). The discretion afforded the

President in this context, and the court’s lack of authority to hinder the exercise of

that discretion, is especially plain under the AEA: “[t]he authority of the President

to promulgate by proclamation or public act ‘the manner and degree of the restraint



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  Although a party must ordinarily first seek a stay pending appeal by the district
court under Fed. R. Appellate Procedure 8(a)(1), the importance of the issues
involved as discussed in this motion as well as the fast-moving nature of this case
warrant this Court’s intervention.

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to which they (alien enemies) shall be subject, and in what cases,’ is, of course,

plenary and not reviewable.” Ex parte Gilroy, 257 F. 110, 112 (S.D.N.Y. 1919). This

Court has identified the significance of the harm that a TRO poses to the Executive

Branch as a relevant factor in determining the appealability of a TRO. See Adams v.

Vance, 570 F.2d 950, 953 (D.C. Cir. 1978) (permitting appeal of a TRO that

“commanded an unprecedented action irreversibly altering the delicate diplomatic

balance in the environmental arena”).

      Second, the district court has now considerably prolonged that harm by setting

its TRO to last for 14 days. See Minute Order (Mar. 15, 2025). It has done so without

allowing the government an opportunity to respond to Plaintiffs’ motion. And it has

done so without offering any explanation of why a 14-day delay is appropriate. The

district court is further potentially preparing to issue nationwide relief by scheduling

an unusual emergency class certification hearing without any opportunity for the

Government to respond. Such actions divest the Executive with key foreign affairs

and national security authority oriented towards effectuating removal of individuals

linked to a designated FTO—efforts that may be forever stymied if halted even

temporarily. The Supreme Court has stressed that a district court cannot “shield its

orders from appellate review merely by designating them as temporary restraining

orders, rather than as preliminary injunctions.” Sampson v. Murray, 415 U.S. 61,

86-87 (1974).



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      In any event, even if this Court were to conclude that the order is

unappealable, the Court should exercise its discretion to treat this motion as a

petition for writ of mandamus. Ukiah Adventist Hosp. v. FTC, 981 F.2d 543, 548 n.6

(D.C. Cir. 1992). The district court’s extraordinary order readily satisfies the

standard to grant mandamus. See Cheney v. U.S. Dist. Court for D.C., 542 U.S. 367,

380–381 (2004). First, if the district court’s order is not appealable, then there is

“‘no other adequate means,’” id. at 380–381, for the government to vindicate the

President’s authority under Article II to exercise the Foreign Affairs power of the

United States. Second, given the Supreme Court’s recent decisions in Collins v.

Yellen, 594 U.S. 220 (2021), and Seila Law, the government’s “right to issuance of

the writ is clear and indisputable,” Cheney, 542 U.S. at 381 (quotation marks

omitted). And finally, the issuance of the writ “is appropriate,” id.—indeed, it is

necessary—to protect our constitutional structure by safeguarding the President’s

prerogative against intrusion by the Judicial Branch.

II.   The District Court Erred in Issuing the TRO

      The district court abused its discretion in granting a temporary restraining

order without first hearing from the government, particularly as TdA has been

designated as an FTO and there may be classified information underlying the

determinations at issue.




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      The Secretary of State’s designation of TdA as an FTO on February 20, 2025,

represents the extraordinary finding that TdA is an organization that engages in

terrorist activity that “threatens the security of United States nationals or the national

security of the United States.” See 8 U.S.C. § 1189(a)(1)(C). This Court, to which

Congress assigned the sole jurisdiction over the review of FTO designations, see 8

U.S.C. § 1189(c)(1), has emphasized the limited and extremely deferential review of

the Executive Branch’s role in protecting the nation and its citizenry from terrorism.

In re People’s Mojahedin Org. of Iran, 680 F.3d 832, 838 (D.C. Cir. 2012); see

Islamic Am. Relief Agency v. Gonzales, 477 F.3d 728, 734 (D.C. Cir. 2007) (“[O]ur

review—in [this] area at the intersection of national security, foreign policy, and

administrative law—is extremely deferential.”); Oetjen v. Cent. Leather Co., 246

U.S. 297, 302 (1918) (“The conduct of the foreign relations of our Government is

committed by the Constitution to the Executive and Legislative—‘the political’—

Departments of the Government, and the propriety of what may be done in the

exercise of this political power is not subject to judicial inquiry or decision.”).

      As an initial matter, the balance of harms weighs decisively in favor of the

United States. Effective and efficient removal of aliens linked to an FTO when that

opportunity is available is a key priority for the United States, and leaving those

individuals in the United States risks ongoing harm to the people of the United

States. Further, removal operations entail delicate international negotiations and



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halting them has the significant potential of never being repaired. On the other hand,

contrary to Plaintiffs’ claims, removal is not categorically irreparable harm. As the

Supreme Court has explained, “[a]lthough removal is a serious burden for many

aliens, it is not categorically irreparable, as some courts have said.” Nken v. Holder,

556 U.S. 418, 435 (2009). “It is accordingly plain that the burden of removal alone

cannot constitute the requisite irreparable injury.”

      Finally, Plaintiffs filed in the wrong venue and the lower court lacked

authority to act on these habeas petitions. Because these claims sound in habeas, the

only proper venue is where the detainee is being held. See, e.g., Rumsfeld v. Padilla,

542 U.S. 426, 435 (2004) (“[T]he default rule is that the proper respondent is the

warden of the facility where the prisoner is being held, not the Attorney General or

some other remote supervisory official.”). Plaintiffs acknowledge in their complaint

that none of the Plaintiffs are detained in this district. See Compl. at 3-5. Filing in

this District is an abuse of these clear rules, and the district court’s order exacerbates

that abuse. Plaintiffs have never been held in this district, as they acknowledge.

Plaintiffs are detained in Texas. Any habeas claims must be brought against the

custodians of those facilities (the “immediate custodian rule”) and in the venues in

which the custodians reside (the “habeas venue rule”). See Dufur v. U.S. Parole

Comm’n, 34 F.4th 1090, 1097 (D.C. Cir. 2022); Vetcher, 316 F. Supp. 3d at 78

(identifying the district of confinement as the only appropriate venue for a habeas



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petition); see also Braden v. 30th Jud. Cir. Ct., 410 U.S. 484, 494-95 (1973) (“The

writ of habeas corpus does not act upon the prisoner who seeks relief, but upon the

person who holds him in what is alleged to be unlawful custody.”); Chatman-Bey v.

Thornburgh, 864 F.2d 804, 810 (D.C. Cir. 1988). Unless Plaintiffs are transferred

within the authority of this district, this case should be dismissed for a lack of venue.

See 28 U.S.C. § 1406(a); see also Mendoza-Linares v. Garland, 51 F.4th 1146, 1157

(9th Cir. 2022) (dismissing challenge to expedited removal order in part for failing

to follow the requirement under Federal Rule of Appellate Procedure 22 to file in the

district of confinement).

III.   The Government Is Likely to Succeed on the Merits of Plaintiffs’ AEA
       Claims

       Although the errors identified above are sufficient to establish that Defendants

are likely to prevail on their appeal of the district court’s order, Defendants are likely

to prevail on the underlying merits of Plaintiffs’ challenge to the government’s AEA

authority. The district court acted based on allegations that the removals would be

pursuant to authority conferred by the AEA. But the determination of whether there

has been an “invasion” or “predatory incursion,” or whether national security

interests have otherwise been engaged so as to implicate the AEA is fundamentally

a political question to be resolved by the President. See California, 104 F.3d at 1091

(determination of an “invasion” under the constitution “implicates foreign policy

concerns which have been constitutionally committed to the political branches); see


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also El-Shifa Pharmaceutical Indust. Co. v. United States, 607 F.3d 836, 842 (D.C.

Cir. 2010) (“The political question doctrine bars our review of claims that, regardless

of how they are styled, call into question the prudence of the political branches in

matters of foreign policy or national security constitutionally committed to their

discretion.”). Likewise, to the extent the President must make threshold

determinations as a prerequisite to invoking the AEA, those determinations would

be “political judgments for which judges have neither technical competence nor

official responsibility.” Ludecke v. Watkins, 335 U.S. 160, 170 (1948).

      To the extent any such AEA Proclamation akin to that alleged by Plaintiffs

would be reviewable, it would be a proper exercise of the President’s authority under

50 U.S.C. § 21 and is supported by the President’s inherent Article II authority to

conduct foreign affairs and address urgent and compelling immigration matters.

      First, a Proclamation targeting TdA would appropriately target a “foreign

nation or government.” TdA’s close and intimate connections with the Maduro

regime, and its infiltration of key elements of the Venezuelan state, including

military and law enforcement entities, make it sufficiently tied to Venezuela so as to

be within the scope of the AEA. TdA’s growth itself can be attributed to state

sponsorship and promotion via the actions of former Governor of Aragua Tarcek El

Aissami. And the Maduro regime’s connections to the group, via the state-sponsored

narco-terrorism enterprise Cartel de los Soles, are also clear. The Maduro regime



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coordinates with and relies on TdA to “sow violence and discord throughout the

United States,” including through gang-related crimes and violent attacks such as

the murder of Laken Riley in Georgia in February 2024.2 Given how significantly

TdA has become intertwined in the fabric of Venezuela’s state structures, it is a de

facto arm of the Maduro regime. In such a case, TdA becomes indistinguishable from

Venezuela, and the two may be folded together for purposes of invoking Section 21.

      As an independent rationale, TdA also operates as a de facto government in

the areas in which it is operating. It is well known that the Maduro regime is closely

linked to narco-terrorism; a major component of that is “corrupt[ing] the institutions

of Venezuela” to flood the United States with drugs “to undermine . . . the wellbeing

of our nation” and that Maduro “deliberately deploy[s] cocaine as a weapon.”3 In

those areas where it is operating, TdA is in fact operating as a criminal state,

independent or in place of the normal civil society and government. Given its

governance and organizational structure, as well as its de facto control over parts of

Venezuela in which it operates with impunity as an effective state unto itself, it would


2
  Peter Pinedo, Fox News, Tren de Aragua are ideological terrorists disguised as a
street    gang    warns      former      military  officer    (Dec.    13,  2024),
https://www.foxnews.com/politics/tren-aragua-ideological-terrorists-disguised-
gang-warns-former-military-officer.
3
  Press Release, Dep’t of Justice, Nicolás Maduro Moros and 14 Current and Former
Venezuelan Officials Charged with Narco-Terrorism, Corruption, Drug Trafficking
and        Other        Criminal         Charges        (Mar.       26,     2020),
https://www.justice.gov/archives/opa/pr/nicol-s-maduro-moros-and-14-current-
and-former-venezuelan-officials-charged-narco-terrorism.

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be well within the discretion of the President to determine it constitutes a foreign

“government” for purposes of invoking Section 21.

      Second, TdA is clearly perpetrating an invasion or a predatory incursion into

the United States. Although the definition of “invasion” most easily applies to a

military entry and occupation of a country, the accepted definition of that term is far

broader. An invasion is “[a]n intrusion or unwelcome incursion of some kind; esp.,

the hostile or forcible encroachment on another’s rights,” or “[t]he arrival

somewhere of people or things who are not wanted there.” Black’s Law Dictionary,

“Invasion,” (12th ed. 2024). Nor is there any requirement that the purposes of the

incursion are to possess or hold territory of the invaded country. See, e.g., United

States v. Texas, 719 F. Supp. 3d 640, 681 (W.D. Tex. 2024). Here, the actions of TdA

fit accepted conceptions of what constitutes an invasion. Their illegal entry into and

continued unlawful presence in the United States is an “unwelcome intrusion” of a

foreign government linked entity that additionally entails hostile acts that are

contrary to the rights of U.S. citizens to be free from criminality and violence.

      Even if the actions of TdA do not fall within the broad definition of “invasion,”

they still constitute a “predatory incursion” that would justify invocation of Section

21. The phrase “predatory incursion” encompasses (1) an entry into the United

States, (2) for purposes contrary to the interests or laws of the United States. See,

e.g., Amaya v. Stanolind Oil & Gas Co., 62 F. Supp. 181, 189-90 (S.D. Tex. 1945)



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(noting use of the phrase to describe raids in Texas during hostilities with Mexico in

the 1840s that fell well short of “invasion”); see also Davrod Corp. v. Coates, 971

F.2d 778, 785 (1st Cir. 1992) (using the phrase to refer to foreign fishing fleets

unlawfully entering and fishing in U.S. territorial waters). Here, there is no question

that TdA and its members have effected entries into the United States, and similarly

no question that the purposes of that entry are contrary to both the interests and laws

of this country—trafficking in substances and people, committing violent crimes,

and conducting business that benefits a foreign government whose interests are

antithetical to the United States. However else the actions of TdA can be

characterized, they clearly constitute a “predatory incursion” into the United States.

      Beyond the statute, the President’s inherent Article II authority is plainly

violated by the district court’s order. As a function of his inherent Article II authority

to protect the nation, the President may determine that TdA represents a significant

risk to the United States, that it is intertwined and advancing the interests of a foreign

government in a manner antithetical to the interests of the United States, and that its

members should be summarily removed from this country as part of that threat. The

exercise of authority in this case is firmly supported by longstanding precedent of

the Supreme Court. As that Court has repeatedly held, Article II confers upon the

President expansive authority over foreign affairs, national security, and

immigration. See Harisiades v. Shaughnessy, 342 U.S. 580, 588 (1952); United



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States v. Curtiss-Wright Exp. Corp., 299 U.S. 304, 320 (1936). And where, as here,

“the President acts pursuant to an express or implied authorization of Congress,” i.e.,

50 U.S.C. § 21, coupled with the President’s own Article II powers over foreign

affairs and national security, “his authority is at its maximum, for it includes all that

he possesses in his own right plus all that Congress can delegate.” Youngstown Sheet

& Tube Co. v. Sawyer, 343 U.S. 579, 635 (1952) (Jackson, J., concurring); see

Zivotofsky ex rel. Zivotofsky v. Kerry, 576 U.S. 1, 10 (2015) (similar).

      If anything, this authority is heightened in the context presented by this case.

The Supreme Court has consistently noted that “[i]t is an accepted maxim of

international law that every sovereign nation has the power, as inherent in

sovereignty, and essential to self-preservation, to forbid the entrance of foreigners

within its dominions, or to admit them only in such cases and upon such conditions

as it may see fit to prescribe.” Nishimura Ekiu v. United States, 142 U.S. 651, 659

(1892). Thus, “[w]hen Congress prescribes a procedure concerning the admissibility

of aliens, it is not dealing alone with a legislative power. It is implementing an

inherent executive power.” United States ex rel. Knauff v. Shaughnessy, 338 U.S.

537, 542 (1950) (emphasis added).

                                   CONCLUSION

      This Court should stay the district court’s order pending appeal and should

immediately enter an administrative stay. To the extent the Court harbors any doubt



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about its appellate jurisdiction, it should treat this appeal as a petition for a writ of

mandamus and grant a writ directing the district court to vacate its order.

Dated: March 15, 2025                    Respectfully submitted,

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                     CERTIFICATE OF COMPLIANCE

      I hereby certify that the foregoing motion complies with the word limit of

Federal Rule of Appellate Procedure 27(d)(2)(A) because the motion contains 3503

words. The motion complies with the typeface and type-style requirements of

Federal Rules of Appellate Procedure 27(d)(1)(E) and 32(a)(5) and (6) because it

has been prepared using Microsoft Word 365 in proportionally spaced 14-point

Times New Roman typeface.


                                              /s/ Christina P. Greer
                                             CHRISTINA P. GREER




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                         CERTIFICATE OF SERVICE

      I hereby certify that on March 15, 2025, I electronically filed the foregoing

motion with the Clerk of the Court for the United States Court of Appeals for the

D.C. Circuit by using the appellate CM/ECF system. Participants in the case are

registered CM/ECF users, and service will be accomplished by the appellate

CM/ECF system.


                                               /s/ Christina P. Greer
                                              CHRISTINA P. GREER




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